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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                                )       Chapter 7
                                                      )
NICHOLAS S. GOULETAS,                                 )       No. 16-01335
                                                      )
      Debtor.                                         )       Hon. Timothy A. Barnes
_______________________________________               )
                                                      )
800 SOUTH WELLS COMMERCIAL LLC,                       )
                                                      )
         Plaintiff,                                   )
                                                      )
v.                                                    )       Adv. No. 1:16 ap 141
                                                      )
NICHOLAS S. GOULETAS,                                 )
                                                      )
         Debtor/Defendant.                            )

                      PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

         Based on (1) the undisputed facts as set forth in Plaintiff's Statement of Undisputed Facts

and (2) the applicable law as set forth in Plaintiff's Memorandum of Law in Support of Plaintiff's

Motion for Summary Judgment, Plaintiff hereby moves for summary judgment against

Debtor/Defendant Nicholas S. Gouletas as to Count Three (Denial of Discharge Pursuant to 11

U.S.C. §727(a)(2)) as alleged in Plaintiff's Adversary Complaint (D.N. 1) filed herein on March

1, 2016, and thereafter enter a Final Judgment denying Gouletas a bankruptcy discharge pursuant

to 11 U.S.C. §727(a)(2)(A). A proposed form of order is submitted for the Court's consideration.
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                                                          Respectfully submitted,
                                                          ARMSTRONG LAW FIRM

       Dated: August 21, 2017.                            By     /s/F. Dean Armstrong
                                                            F. Dean Armstrong
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                                                          Flossmoor, IL 60422
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                                                          Attorneys for 800 South Wells
                                                          Commercial LLC


                                     Certificate of Service

       The undersigned certifies that a true and correct copy of the foregoing pleading was
served upon all parties receiving CM/ECF noticing on this 21st day of August, 2017.


                                                   /s/F. Dean Armstrong
                                                   F. Dean Armstrong




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